            Case 1:16-cv-02201-EGS Document 41 Filed 05/08/18 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
REPRESENTATIVE TED LIEU, et al.,                   )
                                                   )
                Plaintiffs,                        )       Civ. No. 16-2201 (EGS)
                                                   )
                v.                                 )
                                                   )
FEDERAL ELECTION COMMISSION,                       )
                                                   )
                Defendant.                         )
                                                   )

   CONSENT MOTION BY PLAINTIFFS FOR PROPOSED BRIEFING SCHEDULE

       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and the inherent authority

of the Court, Plaintiffs Representative Ted Lieu, Representative Walter Jones, Senator Jeff

Merkley, State Senator (ret.) John Howe, Zephyr Teachout, and Michael Wager (“Plaintiffs”)

respectfully move for the Court to set the following briefing schedule with respect to the Federal

Election Commission’s (“FEC”) Motion to Dismiss Plaintiffs’ First Amended Complaint [ECF

No. 39] (FEC’s Motion to Dismiss”):

       •     June 13, 2018: Deadline for Plaintiffs to file their opposition to the FEC’s Motion to
             Dismiss;

       •     July 2, 2018: Deadline for the FEC to file its reply in support of its Motion to
             Dismiss.

       The FEC has consented to the relief sought herein, and the grounds for this motion are as

follows:

       1.       On November 4, 2016, Plaintiffs filed the Complaint [ECF No. 1] in this action

alleging that, pursuant to 52 U.S.C. § 30109(a)(8) and 5 U.S.C. § 706(1), the Commission failed

to act on the administrative complaint Plaintiffs filed with the Commission on July 7, 2016 (the

“Administrative Complaint”).


                                                1 of 4
            Case 1:16-cv-02201-EGS Document 41 Filed 05/08/18 Page 2 of 4



       2.       On or around June 1, 2017, the FEC sent a letter informing Plaintiffs that the FEC

had decided to close the file at issue in the Administrative Complaint and attached its “Factual

and Legal Analysis” in support of that decision.

       3.       On June 22, 2017, Plaintiffs filed a Motion for Leave to File Amended Complaint

[ECF No. 21], in which it sought substantive review of the FEC’s decision to close the file at

issue in the Administrative Complaint. On March 7, 2018, the Court granted Plaintiffs’ Motion

for Leave to File Amended Complaint.

       4.       On May 7, 2018 the FEC filed its Motion to Dismiss Plaintiffs’ First Amended

Complaint.

       5.       The FEC’s Motion to Dismiss is case dispositive and raises complex legal issues.

       6.       The above-requested briefing schedule is appropriate in light of the complex

issues involved, the fact that the FEC’s Motion to Dismiss is case-dispositive, and the fact that

all parties consent to the briefing schedule.

       7.       Accordingly, there is good cause for the Court to adopt the above-requested

briefing schedule.

       For the reasons stated above, Plaintiffs respectfully request that the Court grant their

Consent Motion For Proposed Briefing Schedule. A proposed Order is attached.

Dated: May 8, 2018

Respectfully submitted,

/s/ Stephen A. Weisbrod
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                                                2 of 4
          Case 1:16-cv-02201-EGS Document 41 Filed 05/08/18 Page 3 of 4



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                                               3 of 4
         Case 1:16-cv-02201-EGS Document 41 Filed 05/08/18 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 8, 2018, the foregoing was caused to be served on

counsel of record for Defendant by the Court’s electronic filing system.


Dated: May 8, 2018                           /s/ Stephen A. Weisbrod__
                                             Stephen A. Weisbrod




                                              4 of 4
